  Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 1 of 19



                             UNITED STATES DISTRICT COURT
                                                   for the
                                       Southern District of Florida

                                             - - - - Division

                                                              Case No.        23-cv-62034-ALTMAN/Hunt
                                                     )
 RICO RIVERA                                         )                         (to be filled in by the Clerk's Office)
                                                     )
                   Plaintiff(s)
                                                     )
SERGENT MARIN, R (PATR,D8)(PD18288),                 )        Jury Trial: (check one)   ■ Yes          □ No
RODRIGUEZ, E (PATR,U352)(PD19237),                   )
                                                     )
KOHLHORST, J.Z. (CID,K2)(PD17635),                   )
GARVEY,K.K. (PD18672),                               )
                                                                                    FILED BY i\'.)ft                  D.C.
WOOLEY, G (PD18197),                                 )
BLACKWOOD, V.C. (PD18723),                           )
                                                     )                                      NOV 2 2 2023
BREWSTER, S.C. (PD18651),                            )                                       ANGELA E. NOBLE
CROSS, D (PD 18979)                                  )                                      CLERK U.S. DIST. CT.
                                                                                          S. D. OF FLA. • FT. LAUD.
LT. FRANK FUENTES and                                )
                                                     )
ALBERT A. ARENAL of the COCONUT
                                                     )
CREEK POLICE DEPARTMENT                              )
                                                     )
                                                     )
                                                     )
                                                     )


                                  COMPL:AINT FOR VIOLATION OF CIVIL RIGHTS
                                             (Non-Prisoner Complaint)
                                                 Amended

     This is a civiLrights action arising under 42 U.S.C. § 1983 seeking redress for the deprivation
    .of fundamental rights guaranteed, inter alia, by the United States Constitution and the Florida
     Declaration of Rights. Plaintiff alleges that the defendants were, at all times relevant to this
     complaint, acting m1der the color of law and in their official capacities as officers of the
     Coconut Creek Poµce Department.




                                                         1.
  Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 2 of 19

Pro Se 15 (Rev. 12/16) Complaintfor Violation of Civil Rights (Non-Prisoner)

      I The Parties to This Complaint

          A.         The Plaintiff(s)

   1.) RICO RIVERA, a natural-born Citizen of the United States of America, andformer
     Resident of Coconut Creek, Florida



          8.         The Def,endaat(s)

   2.) SERGEANT MARIN,R(PATR,D8)(PD18288), in his individual capacity and his official
       capacity as a POLICE SERGEANT of the COCONUT CREEK POLICE DEPARTMENT,
      4800 West Copans Road, Coconut Creek, FL 33063
   3.) RODRIGUEZ, E (PATR,U352)(PD19237), in his individual capacity and his official capacity
       as a POLICE OFFICER of the COCONUT CREEK POLICE DEPARTMENT, 4800 West
       Copans Road, Coconut Creek, FL 33063
   4.) KOHLHORST,J.Z (CID, K2)(PD17635), his individual capacity and his official capacity as a
       POLICE OFFICER of the COCONUT CREEK POLICE DEPARTMENT, 4800 West
       Copans Road, Coconut Creek, FL 33063
   5.) GARVEY,K.K (PD18672), in his individual capacity and his official capacity as a POLICE
      OFFICER of the COCONUT CREEK POLICE DEPARTMENT, 4800 West Copans Road,
      Coconut Creek, FL 33063
   6.) WOOLLEY, G (PD18197), in his individual capacity and his official capacity as a POLICE
       OFFICER of the.COCONUT CREEK POLICE DEPARTMENT, 4800 West Copans Road,
       Coconut Creek, FL 33063
   7.) BLACKWOOD, V.C (PD18723), in his individual capacity and his official capacity as a
       POLICE OFFICER of the COCONUT CREEK POLICE DEPARTMENT, 4800 West
       Copans Road, Coconut Creek, FL 33063
   8.) BREWSTER, S.C (PD18651), in his individual capacity and his official capacity as a POLICE
       OFFICER of the COCONUT CREEK POLICE DEPARTMENT, 4800 West Copans Road,
       Coconut Creek, FL 33063
   9.) CROSS,D (PD18979), in his individual capacity and his official capacity as a POLICE
       OFFICER of the COCONUT CREEK POLICE DEPARTMENT, 4800 West Copans Road,
       Coconut Creek, FL 33063
   10.) LT. FRANK FUENTES in his official capacity as Lt. of CRIMINAL INVESTIGATIONS
       SECTION for the COCONUT CREEK POLICE DEPARTMENT, 4800 West Copans Road,
      Coconut Creek, FL 33063
 • 11.) ALBERT A. ARENAL in his official capacity as CHIEF OF POLICE for the COCONUT
      CREEK POLICE DEPARTMENT, 4800 West Copans Road, Coconut Creek, FL 33063



                                                                               2.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 3 of 19

Pro Sc 15 (Rev. 12/16) Complaint for Violation of Civil Rights (Non~Prisoncr)


     II Jurisdiction· and Venue:

    12.) This Court has jurisdiction to hear this complaint pursuant to 28 U.S.C. § 133l(federal
         question), 28 U.S.C. § 1343 (a)(3) and (4)(civil rights jurisdiction) and 28 U.S.C. § 1367
         (supplemental jurisdiction)
    13.) Venue is Proper in the United States District Court for the Southern.District of Florida
        under 28 U.S.C. § 1391 (b)(2) because the acts or omissions giving rise to the claims herein
        occurred in this judicial district.

     m Statement Of Facts:
      14.)    Plaintiff R, RIVERA and A.A.R. are both natural born ·Citizens of the United States of
       America and at the time of this incident, resided at 3400 West Hillsboro Blvd, Coconut Creek,
       Florida. A.A.R. is a two year old toddler and the daughter of R.Rivera
      15.) At all times relevant to this complaint ALL defendants were acting under the color of state
       and local law. All Defendants either reside in the vicinity of Coconut Creek Florida or, at the
       very least, were employed by the CCPD.
      16.) On 02/05/2023 the Plantiff called the CCPD seeking intervention after his ex wife had
       continuously struck him, ultimately with a weapon, in the presence of minor A.A.R. All of the
       defendants responded in full uniform to the Plaintiffs home
        17.) The Coconut Creek Police Officers DO NOT, or at least, DID NOT utilize body worn
        . cameras at the time of the incident stated within this complaint.
        18.) Upon arriv~l The Defendants, all male, spoke to the Plaintiffs wife first and then
        Plaintiff was approached by Officer Rodriguez and Officer Blackwood afterwards. The
         Plaintiff informed the officers that he would be recording from his iPad for his own safety and
         Consent was given.
        19.) The Plaintiff showed defendant Rodriguez and defendant Blackwood a video that was
        recorded showing his ex wife committing battery that took place in front of A.A.R. Rivera also
        informed the officers that there were several other recordings from the home monitoring
        system.
        20.) After witnessing the footage, officer Rodriguez asked Rivera what he would like to do
        about it. The Plaintiff affirmatively stated that he wanted to file charges against his wife due to
        her continuous disregard for getting physical in front of A.A.R.
        21.) Officer Blackwood immediately interjected and told the Plaintiff that he could not file
       any charges for the battery.

        ~2.) The Petitioner stated on three occasions that he wanted to pursue charges for the battery
        and was denied each time,



                                                                                3.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 4 of 19
J>ni Se i S(Rev. 12116} Complaint for Violation ofCivil Rights (Non-Prisoner)




         23.) Officer Blackwood, then proceeded to tell the Plaintiff to leave his Residence and
      maliciously threatened that ifhe did not, they would "fabricate evidence and make it to a point"
      to support a false arrest or Domestic Violence against the plaintiff. Officer Blackwood boldly
      and with audacity, made the threat while being recorded.
         24.) Defendant Blackwood, Defendant Garvey and Defendant Kohlhorst further tried to
      provoke fear by making threats of taking the Plaintiffs daughter into custody
         25.) All of the Defendants were present as one unit when the situation occurred, along with one
     supervisor, SGT.MARIN, who condoned, ratified and supported this manifestly illegal conduct
         26.) In.their official capacities, the defendants were asserting an obligation for the plaintiff to
          leave his residence, an obligation that he had no obligation, under any law, to comply with.
         27.) Plaintiff R.R., male, had committed absolutely no wrong doing and the defendants
      could not at any point legally arrest him or charge him. At no point did the officers have any
      justifiable means for their conduct throughout the investigation. Therefore, without, justifiable
      reason, The Plaintiffs should have received equal treatment according to law as any other
      "victim" of violence would have. Instead he was subjected to illegal bias policing, racial and
      gender profiling
         28.) The Petitioner rightfully refused to leave the residence because he had not acted in any
       way to justify making him leave. The defendants had in fact only observed the petitioners ex wife
       committing battery with a weapon in front of a minor and when asked to see the home video she
       did not cooperate.
         29.) The defendants took offense when the petitioner refused to leave his residence as they
       instructed and as a result the ensuing led to further misconduct.
         30.) The defendants did not arrest the petitioners ex wife nor did they require her to show
      cause for her actions or follow the same policy as a similarly situated incident of battery with a
      weapon.
         31.) In response for refusing to leave his residence, the defendants told the respondents ex
       wife to get "her" baby, after committing the act in front of her, and informed her that if she goes
       to file for a restraining order that they will "help her". In other words they would solicit her in
       getting the Plaintiff to leave the residence if she were to lie to get a temporary injunction.
         32.) The defendants conspired with a private individual to support a false domestic violence
      claim.
         33.) The defendant's instructed the Petitioner to step to the side and allowed his ex wife to take
       AAR from the home and his ex wife proceeded to do exactly as the officers said to her. She filed
      for a false domestic violence report which she even swears to the officers offering their gratituity
      to her in the repqrt.
        34.) Officer Rodriguez wrote a false police report to cover up their actions and assist in a false
       Domestic Violence conviction. This report was supported by all of the defendants and approved
       bythe superior officer.


                                                                                4.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 5 of 19

Pro Se 15 (Rev. 12/16) Complaintfor Violation of Civil Rights (Non-Prisoner)




           •35.) The Plaintiff was served a temporary ~junction and was forced to leave his home
         and separated from AAR for six months. He also had to litigate the falsely supported claims
         that included two days of trial.
            36.) Tlw Plaintiff filed a complaint with CCPD internal affairs investigation division on
        04/26/23 about the incident.
            37.) All claims against the plaintiff were ultimately dismissed at trial on 08/30/2023
            38.) On 09/28/2023 the CCPD investigation concluded holding that allegations against
        officer Blackwood were sustained.
                                                                 Count 1
                                                          Fourteenth Amendment
                                                             equal protection
                                                            (42 u.s.c. § 1983)
                   Punitive Damages, Compensatory Damages and Declaratory Judgement

               39.)      This is a claim against all defendants.
               40.).     Wherefore the ongoing allegations are re alledged and incorporated herein
               41.) 18 U:S:C. § 241 makes it unlawful for two or more persons to agree to injure,
               threaten or intimidate a person in the US in the free exercise or enjoyment of any right or
               privilege secured by the constitution or laws of the U.S. or because of him having exercised
               such a right.
                42.) Defendants Blackwood ,Garvey and Kohlhorst threatened the plaintiff with
              fabricated evidence, false imprisonment and to remove his child from the home if he did
              not leave his residence even though Rivera had committed no wrong doing and the
              officers, in actuality, observed a recording of the plaintiff and AAR as the victim's of
              battery.
               43~) Defandants consistently afforded lesser protection because the victim of the
              battery was a male.
               44.) Defendants willfully and wantonly deprived the Plaintiff of his fourteenth
             amendment his rights to "equal protection under the laws.
               45.) At all times relevant hereto, The Defendants acted with malice, recklessness and
             total and deliberate disregard for the Constitutional rights of both Plantiffs'.
               46.) Defendants did not afford the plaintiff notice of his legal rights and remedies for
              domestic violence nor did they follow any of the procedures required by Fl Statute 741.29
              which outlines the procedures to be taken by law enforcement officers who investigate
              incidents of domestic violence.




                                                                               5.
    Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 6 of 19

Pro Se 15 (Rev. 12/ l 6) Complaint for Violation of Civil Rights (Non-Prisoner)


             47.) The Defendants.plaintiff was afforded lesser protection due to biased policing
          • and because the battery with a weapon was a domestic dispute and the victim was a man.
             48.)     The Defendants threatened the Plaintiff. Any reasonable officer knows or
            should have known that in a similarly situated incident, they can not threaten of a victim
            of battery with false imprisonment and fabricated evidence.
             49.)     Any reasonable officer knows or should have known that in a similarly situated
            incident, they can not fabricate official document and conspire with a private individual
            to violate due process of a victim of battery by lying and supporting a claim stating that
            he was observed comitting violence in which he was not.
             50.) Per previously and clearly established case law, the defendants are liable under
            section 1983 if he is intentionally treated differently than others similarly situated and
            there is no rational basis for the disparate treatment. There was none.
             51.) Officer Kohlhorst told the plaintiff that he didn't even want to view the video
            that showed the battery that took place, simply because the Plaintiff was the victim of
            battery and not the perpetrator. The defendants did not follow the preferred arrest
            policy or even require an explanation from the actual perpetrator of the battery.
              52.) Defendants denied the Plaintiffs right to file charges for the battery and
             proceeded to attempt to frame him for the violence that was committed against him.
              53.) Defendants allowed and condoned the real perpetrator to commit a violent act
            against the Plaintiff. After they had witnessed the violence take place in front of a minor,
            they allowed the perpetrator take that very same minor from the scene.


                                                          Count 2
                                                    Failing to intervene
                                            (42 u.s.c. § 1983)(42 u.s.c § 1986)
                  Punitive Damages, Compensatory Damages and Declaratory Judgement


             54.) Plaintiff RR brings this claim against defendants Rodriguez, Kohlhorst, Garvey,
             Wooley, Brewster and Cross.
              55.) Wherefore the ongoing allegations are re alledged and incorporated herein

             56.) When an officer is present and fails to intervene. to prevent law enforcement officers
            from violating a persons Constitutional rights and the officer knows about the unlawful
            conduct and has a realistic opportunity to intervene and prevent the harm from occurring,
            they are liable under §1983 -byrd v brishke




                                                                                  6.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 7 of 19

Pro Se IS {Rev. 12/ I 6}Complaint for Violation of Civil Rights (Non-Prisoner)



               57.) Defendants Rodriguez, Kohlhorst, Garvey, Wooley, Brewster and Cross were
               present and observed the threat made by officer Blackwood. None of the defendants
               intervened to stop or correct the misconduct they observed, instead they condoned,
               agreed and endorsed their fellow officer with Defendants Garvey and Kohlhorst
               making further threats to the Plaintiff.
               58.) All of the Defendants knew excessive force was used, that the plaintiff was
              being unequally treated, and that the plaintiff was going to face unjustifiable
              prosecution as a result of the manifest illegal conduct and all defendants were
              obligated to interfere. They did not, they all either reinforced the misconduct or
              simply stood there in agreement, even when Blackwood and Garvey used the term
              "We" in the recording, in which is referencing the defendants as one unit. None of
              the defendants excluded themselves from "We"


                                               Count 3
                       Liability in connection of another~Supervisory Official
                                          (42 u.s.c. § 1983)
                 Punitive Damages, Compensatory namages and Declaratory Judgement

                59.) This is a claim against all Sergean Marin.
                60.) Wherefore the ongoing allegations are re alledged and incorporated herein

               61.) Sgt. Marin was, in full police uniform, present at the scene and was the
               Senior officer and Supervisor over all of the other defendants during this
               incident.
               62.) Sgt. Marin directly observed his subordinates misconduct and therefore
               had actual knowledge of his subordinates actions that violated the plantiffs
               Constitutional Rights.

                63.) Sgt. Marin had the duty to and the ability to interfere and correct his
                 subordinates to prevent the Constitutional violations and- prevent any
                 furtherance thereof.

                64.) Sgt. Marin did neither. Instead he acquiesced in the violations by simply
                 standing there and agreeing, neither stopping or correcting his subordinates,
                 turning a blind eye, thus furthering and encouraging the police misconduct
                 and all claims stated in this complaint.




                                                                                 .'
                                                                                 7   '
    Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 8 of 19

Pro Se IS (Rev. 12/16) Complaint for Violation of Civil Rights (Non-Prisoner)



                                                        Count 4
                                      Falsifying police report and other evidence
                                                  (42 U .s.c. §. 1983)
                   Punitive Damages, Compensatory Damages- and Declaratory Judgement

                65.) This claim is against all defendants.
                66.) Wherefore the ongoing allegations are re alledged and incorporated herein.
                67.) The defendants lied on the report stating that they were unable to determine the
               primary aggressor due to lack of evidence, conflicting stories and no independent
               witnesses. The defendants clearly and positively witnessed the plaintiffs ex wife
               committing battery with a weapon and the plaintiff asked the officers numerous times to
               watch the home surveillance which had recorded before, during and after the battery that
               they witnessed from the plaintiffs cell phone video.
                68.) The defendants lied on the official report by stating that they observed physical
               violence occurring between both the plaintiff and the actual perpetrator. This is a blatant
               lie. The Defendants had absolutely no evidence and had not observed the Plaintiff
               commit any violence. The Defendants only observed the plaintiff being hit with a weapon
               in front of minor AAR. The Defendants state in their report that Child Protective
               Services was also notified and given the false information that the defendants witnessed
               both parties committing violence.
                69.) The defendants lied stating on their police report tliat the plaintiff stole all of his ex
               wife's belongings from the home yet the Plaintiff is on video with the defendants begging
               them to go in the home, to search the home and to view the surveillance footage.
               70.) Defendants convened and intentionally Falsified the police report. The Defendants
               prepared the police report with knowledge that it would be used subvert the legal process
               surrounding the domestic violence issue. The report was submitted by defendant
               Rodriguez and approved by Sgt. Marin.
                71.) All of the defendants obstructed justice in order to cover up their mistake, attempt
               to justify their misconduct and to try to build a strong case against the plaintiff to be
               wrongfully convicted.
                72.) All defendants obstructed justice for the Plaintiff, R.RIVERA, in two separate
              ways. The first being, his rights to seek equal justice for the crime that was committed
              against him. The second being his rights to a fair trial in the domestic violence case that
              ensued which was completely fabricated against the plaintiff and attempted to be
              supported by false police evidence.
                 73.) Any reasonable officer should have known that itis unconstitutional to lie on an
            _offi<?ial document in order to fabricate a claim against a citizen that committed no
            wrongdoing.



                                                                                8.
    Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 9 of 19

Pro Se IS (Rev, 12/16} Complaint for Violation of Civil Rights (Non-Prisoner)



                                           Count 5
            Conspiring. with a private individual to interfere with Civil Rights
               ( 42 U .s.c. § 1983)( 42 U .s.c. § 1985)(3)( 42 U .s.c. § 1986)
                 Punitive Damages, Compensatory Damages and Declaratory Judgement

             74.) This claim is against all defendants.
             75.) Wherefore going allegations are re alledged and incorporated herein.
              76.) 18 U.S.C. § 241 makes it unlawful for two or more persons to agree to injure,
             threaten or intimidate a person in the US in the free exercise or enjoyment of any right or
             privilege secured by the constitution or laws of the U.S. or because of him having exercised
             such a right.
              77.) Title 42 USC§ 1983 provides in relevant part that:
            Every person who, under color of any statute, ordinance, regulation, custom or usage, of
            any State ... subjects or causes to be subjected, any citizen of the United States ... to the
            deprivation of any rights, privileges, or immunities secured by the Constitution and laws,
            shall be liable to the party injured in an action at law, suit in equity, or other proper
            proceeding for redress.
             78.) Title 42 USC.§ 1985(3) provides in relevant part that:
           If two or more persons in any State or Territory conspire ... for the purpose of
           depriving,either directly or indirectly, any person or class of persons of the equal
           protection of the laws, or of privileges and immunities under the laws .. , in any case of
           conspiracy set forth in this sectio, if one or more persons engaged therein do, or cause to
           be done any act in furtherance of the object of such conspiracy, whereby another is injured
           in his person or property, or deprived of having and exercising any right or privilege of a
           citizen of the United States, the party so injured or deprived may have an action for th~
           recovery of damages occasioned by such injury or deprivation, against any one or more or
           the conspirators.
             79.) Title 42 USC§ 1986 provides in relevant part that:
           Every person who, having knowledge that any of the wrongs conspired to be done, and
           mentionecl in section 1985 of this title, are about to be committed, and having power to
           prevent or aid in preventing the commission of the same, neglects or refuses so to do, if
           such wrongful act be committe, shall be liable to the party injured, or his legal
           representative, for all damages caused by such wrongful act, which such person by
           reasonable diligence could have prevented; and such damages may be recovered in an
           action on the case; and Amy number of persons guilty of such wrongful neglect or refusal
           m~y be joined as defendants in the action.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 10 of 19

Pro Sc IS (Rcv.12/16} Complaint for Violation of Civil Rights (Non-Prisoner)



            80.) The Defendants conspired with the Plaintiffs ex wife to wrongfully remove the
         plaintiff from his home and deprive him of his right to be in his residence with After
         witnessing video evidence of the Petitioners ex wife committing Domestic Battery, with a
         weapon, in front of their minor child, they deliberately chose to permit the battery by
         turning a blind eye and refusing to arrest or even allow plaintiff to to file charges for the
         action committed against he and AAR.
           81.) The Defendants overtly provided significant encouragement, to the plaintiffs ex wife
         by threatening the plaintiff with false imprisonment and false prosecution in order to instill
        ,fear into the plaintiff and force him out of his home.
            82.) The Defendant's conspired with the plaintiffs ex wife to maliciously and wrongfully
         prosecute the plaintiff violence that he did not commit.
            83.) The Defendants provided significant encouragement, overtly and covertly, to the
        plaintiffs ex wife by telling her to file for a false domestic violence injunction stating " go
        file for a restraining order and they would help her."
            84.) The co conspirator acted in concert with defendants and furthered the agreement
         when she followed their lead by filing for a false domestic violence injunction exactly as they
         instructed. This action was reasonably foreseen by the defendants. The co conspirator even
         swore to the exact statement- that they told her they would help her-on her request for an
         injunction.
           85.) The Defendant's conspired with the plaintiffs ex wife to violate the plaintiffs right to
          due process and to d~prive him of his property.
           86.) The Defendants agreed, along with supervisor SGT marin, to fabricate the police
           report to make it appear as if they had witnessed the plaintiff commit violence . 'At no
           point did defendants witness any crime committed by the plaintiff against neither the
           plaintiffs ex w,ife nor AAR or any violations of law
            87.) All defendants acted in concert and solicited the plaintiffs ex wife in depriving the
          plaintiff of his right to fair trial and due process by falsifying the police report and
          creating the framework necessary to deceive the courts and manipulate the judicial
          process in a way that would make the court believe that the Plaintiff was the perpetrator
          of domestic violence. This action taken by the defendants was their way of making the
          conspiracy complete. It was the defendants way of attempting to support and solidify the
          co conspirators fabricated claims, by abusing their credit and authority to carry out the
          crime. Furthermore, the plaintiff alleges that the defendants conspired to deprive him of
          equal protection under the laws and Due Process by not allowing the plaintiff to file
          charges of battery when the battery clearly occurred-nor did they even acknowledge it or
          hold the perpetrator accountable. Instead the defendants joined her.




                                                                               10.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 11 of 19

Pro Se IS (Rev.J2/16) Complaint for Violation of CM! Rights (Non--Prisoner) .




           88.) The Defendant's conspired with the plaintiffs ex wife to interfere with the plaintiffs
           rights to custody of AAR.

           89.) Defendants did so and provided further encouragement for the conspiracy by
          instructing the plaintiffs ex wife and allowing her to t.ake the parties daughter, AAR with her
          until she gets a domestic violence injunction granted, in spite of the fact that they witnessed her
          commit battery against the plaintiff infront AAR, not the other way around. Therefore, the
          petitioners ex wife acted with the help of the defendants. And this instruction by the
          defendants was yet another action to make the conspiracy a reality.
            90.) Afterwards, the injunction was in fact granted and served on the plaintiff by the
           CCPD. The order stated that the Plaintiff be removed from the residence. It stated that AAR
           remain with the person who .committed the violence in front of her. It stated that the
           Plaintiff, in his innocence of any wrongdoing, shall not come near AAR, his residence, his
         . wife, place of work and shared business.
            91.) As a result, the judicial process began and lasted for six months and twenty-eight
           days. During that period the plaintiff was separated from AAR and faced the reality and
           burden of having to litigate, pro se, this falsely constructed injunction for domestic violence.
           The injunction was ultimately dismissed after two days in trial and the obvious was proven.
           The damage had been done and in respect to custody, the plaintiff, innocent and accused,
           was made homeless and separated from AAR for nearly seven months, while AAR remained
           with the plaintiffs ex wife whom was guilty and solicited. Providing an intentional, obvious
           foreseen and significant disadvantage and interference to the plaintiffs rights to custody of
           AAR, his residence and business .
             92.) To include all of the aforementioned, The Defendants Conspired with a private
           individual to violate the plaintiff's fourth amendment to be free of continuing seizure and
           pre trial deprivation, Excessive force and to violate the plaintiffs fourteenth amendment to
           be free from malicious prosecution.

            93.) The Defendants created the foundation for the conspiracy. All of their actions and
            misconduct resulted from the defendants exercise of coercive power and-forms of coercion
            made to stimulate an outcome based on fabricated evidence and the false claims in which it
            supports.




                                                                            11.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 12 of 19

Pro Sc 15 (Rev. 12116) Complaint for Violation ofCivil Rights (Non-Prisoner)



                                                        Count 6
                                          Fourth Amendment~continuing seizure
                                                   (42 u.s.c. § 1983)
                   Punitive Damages, Compensatory Damages and Declaratory Judgement

             94.) Wherefore going allegations are re alledged and incorporated herein.
             95.)     This claim is brought forth against an defendants.                  .
             96.)     The plaintiff suffered pre trial deprivation under the 4th amendment. The
          plaintiffs "fair trial" rights were violated when the CCPD did not disclose exculpatory
          evidence that would have and could have exonerated the petitioner instead of subjecting
          him to seven months of undue litigation. This claim is supported by clearly established in
          prior case law
             97.)     The plaintiff filed a complaint with the CCPD internal affairs investigations
         unit within one month of the incident, providing them with videos and other supporting
         evidence of the claim of their officer's collective behavior. The CCPD investigation
         concluded on 09/08/2023 stating that at least.one of the officers was liable a~d the
         plaintiffs allegations were sustained. However, the CCPD concealed the undoubtable
         exculpatory evidence and allowed the fabricated trial to continue to its completion even
         though they had evidence of the truth and that their officers had taken part in allowing the
         process to make it that far.
             98.) The plaintiff suffered pre trial deprivation under the 4th amendment "continuing
          seizure". The plaintiff was continually seized for a period of nearly seven months before
          his innocence was :proven and he was allowed contact with his daughter AAR. The
          defendants knew that, as an obvious result of their misconduct the plaintiff would face
          this period of pre trial deprivation. That the plaintiff would be for~ed out and faced to
          fight the ju_dicial system for however long that requires. the defendants and the CCPD
          could have, at any moment, prevented any further injustice but chose to let the trial
          continue and subject the plaintiff to defend the fabricated case.


                                                           Count 7
                                              Fourth Amendment~excessive force
                                                      (42 U .s.c. § 1983)
                   Punitive Damages, Compensatory Damages and Declaratory Judgement

             99.) This is a claim against defendants
           100.)Wherefore going allegations are re alledged and incorporated herein.
           101.) Police officers may be held liable under section 1983 when they use more force than
            necessary in relation to the need present.



                                                                               12.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 13 of 19

. Pro Se IS.(R.ev. l2/16)Complaint for Violation of Civil Rights (Non-Prisoner)




            102.) Plaintiff did not, at any time, pose a threat to the defendants or the safety of others.
            103.) Plaintiff, RICO RIVERA, contacted the C.C.P.D. because he was a victim of domestic
             battery, with a weapon, that occurred in front of his minor daughter A.A.R. Their
             relentless misconduct was unnecessary in relation to the need presented to them.
            104.)       Instead of assisting the plaintiff, the defendants, maliciously and consciously
            threatened the plaintiff with false imprisonment and conspiracy.
            105.) The defendants actually conspired with a private individual to falsely convict the
             plaintiff of domestic violence and take his daughter from him, they fabricated evidence
             to support the conspiracy, they denied him of equal protection, due process, his home,
             his child, and subjected him to malicious prosecution and continuing seizure, defaming
             his character for something that he did not commit all while knowing he was the one that
             the violence was committed against.
            106.) The weight of the amount of force used was unnecessary and the malicious motives of
            the officers involved are the direct cause as to the extent of the injuries sustained by the
            plaintiff.
            107.) The defendants exerted excessive force and they directed that excessive force towards
            the plaintiff.
            108.) The Defendants made a very real threat with severe life threatening consequences
            towards the plaintiff that has instilled a fear of the plaintiff to return to the City of Coconut
            Creek Florida.
            109.) The defendants orchestrated and carried out the threat
            110.) This was done to intimidate plaintiff so that he would not exercise, or to punish
            him from exercise his right to pursue charges against the perpetrator of the battery. It was
            also because the plaintiff refused to leave his residence as the officers gave him an
            ultimatum.
            111.)      By invoking his constitutional right to not be forced out of home, the plaintiff
            offended the defendants after not succumbing to their threats. the ensuing of this led to a
            separation of he and his daughter for over six months and unreasonably having to litigate
            a falsified domestic violence case that had been tainted with due process violations,
            falsified police documents and fabricated evidence set in place to support a conspiracy in
            order to permanently separate plaintiff RR from his home and from his daughter AAR.
            112.)     Per Section 242 Title 18 U.S.C. Police officers may not maliciously threaten any
            citizen to deprive them of their Constitutional Right.
            113.) Every person has the constitutional right not to be subjected to excessive force by
            police officer.



                                                                                  13.
  Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 14 of 19

Pro Se IS (Rcv.12/16)Complainl for Violation of Civil Rights (Non Prisoner)




           114.)       The defendants intentionally applied more force than necessary violating the
         plaintiffs fourth amendment.


                                        Count 8
               Fourteenth Amendment~ Malicious Prosecution as undue process
                                  (42 u.s.c. § 1983)
                  Punitive Damages, Compensatory Damages and Declaratory Judgement

            115.)        This claim is against all defendants
            116.) Wherefore going allegations are re alledged and incorporated herein.
            117.) The defendants intentionally initiated prosecution for domestic violence against
         the plaintiff through his ex wife, misusing the legal machinery of Florida for an improper
         purpose by wrongfully commencing a judicial proceeding, in spite of the fact that they did
         not have probable cause to do so and had witnessed evidence demonstrating the contrary.
            118.) The defendants was forced to deal with and absorb the entire process of the
         prosecution. The trial:began on 05/31/2023 and the domestic injunction was ultimately
         dismissed at its conclusion on 08/30/2023. Based upon evidence.
            119.) Per previously and clearly established case law, the defendants are liable under
          42 usc 1983 for violation of due process under the 14th Amendment of the United States
          Constitution for the initiation of malicious prosecution even if the proceedings end
          favorably for the plaintiff.



                                                          Count 9
                                           Fourteenth Amendment~Due Process
                                                     failure to arrest
                                                   (42 u.s.c. § 1983)
                 Pu11itive Damages, Compensatory Damages and Declaratory Judgement

            120.)        This claim is against all defendants
             121.)       Wherefore going allegations are re alledged and incorporated herein.

             122.) The defendants refused to allow plaintiff to pursue charges for the battery
               committed_against him. They did not arrest or provide the plaintiff with any assistance,
               thus interfering with his rights to a legal remedy.



                                                                              14.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 15 of 19

Pro Se 15 (Rev.-12116) Complaint for Violation of Civil Rights (Non-Prisoner)




         123.) The defendants enhanced the plaintiffs level of danger by failing to arrest the batterer,
         validating the batterers actions.

         124.)The defendants created a new level of danger by soliciting the batterer and creating the
        circumstances favorable to her and intentionally interfering with ·the judicial process.

          125.) The Defendants not follow the preferred arrest procedures that govern the CCPD

         126.) Mental and emotional distress caused by denial of procedural due process is actionable
         under 1983 carey v pipus- Kentucky v graham




                                                           Count 10
                                            Fourteenth Amendment~ Due .Process
                                             disclosure of exculpatory evidence
                                                      (42 u.s.c. § 1983)
                  Punitive Damages, Compensatory Damages and Declaratory Judgement

          127.) This claim is against Lt. Frank Fuentes and Albert A. Arenal.
          128.) Due process requires that the disclosure of exculpatory information and evidence be
          made in sufficient time and in advance of trial in order to permit a defendant to make
          effective use of that information at trial.
          129.) Both chose to allow the miscarriage of justice to continue for the plaintiff and allow the
          plaintiff to face trial labeled as the perpetrator of domestic violence when they had evidence
          that this was untrue.
          130.) An Investigation into the defendants misconduct was led by Lt. Fuentes on
          04/21/2023 after the plaintiff filed a complaint with the department about the officers
          conduct; During this investigation Lt Fuentes received exculpatory evidence material that
          proved the plaintiffs innocence and that the plaintiff was, in respect to theJaws, the victim
          of domestic violence as well as A.A:R. and that the other defendants did not see the
          plaintiff comm any act of violence as it is written in the official report. Furthermore Lt.
          Fuentes received video evidence of the officers threatening to fabricate evidence against the
          plaintiff.
          131.) A. Arenal, the police chief, also had access to this information and evidence and as his
          position suggests he is the commander in chief who ultimately views, approves and finalizes
          an investigation such as this. Both Lt. Fuentes and A.Arenal were well aware that the
          plaintiff had been improperly placed under a domestic violence injunction.


                                                                                15.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 16 of 19

Pro Sc IS {Rev. 12/16) Complaint for Violation of Civil Rights (Non----Prisoncr) .



          132.) Becallse the police are just as much an arm of the state as a pros~cutor, they inflict·
          the same constitutional injury when they hide, conceal, destroy, or even fail to disclose
          exculpatory information. The police play a unique and significant role in the process and
          are thus bound by the government's obligation to ensure that a miscarriage of justice does
          not occur. All of which has been clearly established in prior case law. Neither Lt. Fuentes
          nor A. Arenal did anything to ensure its non occurrence and the plaintiff stood trial for
          domestic violence in the position of and labeled as a perpetrator of domestic· violence
          which is an absolute falsehood. The plaintiff, pro se, was left to explain and demonstrate
          that the police, all of them, had lied.
           133.) Neither of the defendants disclosed the the truth to Child Protective Services
           clarifying that what the officers wrote in their report was false and that they never
           witnessed the plaintiff commit any act whatsoever in front of AAR
           134.) The injunction was dismissed 7 monthsJater after the plaintiff underwent two days
           of trial and the obvious was proven.
            135.) The CCPD internal affairs investigations concluded after 7 months finding that only
            accusations against officer Blackwood were sustained . He received 1 day suspension,


     IV.                 Injury

             134.) The plaintiff suffered pre trial deprivation after being served an injunction that was
              ordered based on the conspiracy. The Plaintiff was forced to leave his residence and was
              not allowed to return until nearly seven months later when the lie was uncovered and the
              injunction was dismissed.
              135.) The Plaintiff suffered psychological damage and undue stress for having to litigate
              the false claims made against him.

             136.) The Plaintiff ~uffered psychological and emotional damage for being separated from
              his daughter for 7 months awaiting trial.
             137.) The Plaintiffs daughter suffered psychological and emotional damage for being
              separated from the plaintiff for 7 months awaiting trial.
              138.) The Plaintiff's lost seven months of income and faced difficulties obtaining
               employment due to him being forced out of his home and being forced out of state.
             139.) The Plaintiff was ordered to stay away from the business that he shared with his
              ex wife after the conspiracy. The plaintiff returned after trial only to observe that the
              business that was left in the hands of the true perpetrator is now in ruins.
             140.) The Plaintiff's reputation was tarnished and his character was defamed in all
              aspects of his child's life from daycare to neighbors, friends and family. After the
              conspiracy the Plaintiff was falsely labeled as a perpetrator of violence.

                                                                                 16.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 17 of 19

Pro Se I S.(Rcv. 12/16) Complaint for Violation of Civil Rights (Non-,.Prisoner)



             141.) The Pla~tiff& lost job opportunities because of the false allegations

             142.) The Plaintiff's suffers psychologically from the fear of returning to Coconut Creek
              Fl. The plaintiff can no longer live or be in Coconut Creek Fl without distress or fear and
              was ultimately forced away from where he once lived and where his daughter resides.
            143.) The Plaintiff continues to suffer mentally as he is now currently afa severe
              disadvantage for the custody because of the inappropriate separation of her and the
              plaintiff and the fact that she resided, and still resides, for the past seven months in the
              city of Coconut Creek.
             144.) The plaintiffs daughter has suffered from the intentional acts of the defendants in
             that two months after the incident on 02/05/2023, AAR, 3 years old, was removed from
             her gymnastics cl_ass for hitting another child exactly as she observed on 02/05/2023. This
             was the result of the defendant's solicitation and contribution to the delinquency of a
             minor. This is als.o why In the state of Florida it is a customary practice that if a child
             witnesses someone commit an act of violence, the authorities need not place that minor in
             the care of the perpetrator. However, in this case that is what was done, giving validation
             to AAR and quickly manifesting the same behaviors subjecting her to a cycle of
             dependency.
            145.) The relationship between AAR and the plaintiff has been severely strained difficult
            to repair. Unnecessarily.




         V.                Relief

             146.)            I hereby request the following relief.
              147.)    Judgement for compensatory damages against all defendants in an amount to be
                determined at trial
              148.)    Judgement for punitive damages against all defendants in an amount to be
                determined at trial
              149.)    An award of the costs of this action against all defendant, including reasonable
                attorneys' fees in accordance with 42 U.S.C. § 1988 and/or 18 U.S.C § 1964(c)
              150.)    An order requiring the Coconut Creek police Department to pay any judgement
               for damages entered against the defendants.
              151.)    An injunction against all defendants.
              152.)    An order Demanding that the CCPD correct the false report that it's officers
               made to child protective services that states that the officers witnessed the plaintiff commit
             • domestic violence in front of A.A.R.


                                                                                   17.
   Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 18 of 19

Pro Se IS (Rev. I 2/1§) Complaint for~Violation of Civil Rights (Non-Prisoner)



             153.) AAR has a constitutional right to equal protection under the law and because she is
             a minor, 3 years old, should have been entitled to the most jealous of care that no injustice
             be done to her.
             154.) The defendants recklessly and callously disregarded her rights to equal protection and
            put her in the arms of an abuser, an act that another child in a similar situation most
            certainly would not have been subjected to. The defendants sacrificed AAR in order to cover
            up their agenda, mask their misconduct and to solicit and conspire with the plaintiffs ex wife
            in getting a false domestic violence injunction against the plaintiff and interfere with his
            rights to custody and justice
             155.) Because AAR is a minor and the Plaintiff, prose, is not an attorney he is not
             permitted to represent AAR in her entitlement to her claims.
              156.) The Plaintiff asks that this court grant a preliminary judgement for reasonable
             attorneys fees to seek counsel on behalf of the minor child for the constitutional violations
             in which she is entitled to redress.
                     Such other_ and further relief the court deems appropriate.

VI.                Certificate of Closing

            Under Federal Rule of Civil Procedure 11, by signing below, I certify to the best of my
            knowledge, information, and belief that this complaint (1) is not being presented for an
            improper purpose, such as to harass, cause unnecessary delay, or needlessly increase the
            cost of litigatio; (2) is supported by existing law or a by a non frivolous argument for
            extendin, modifying, or reversing existing law; (3} the factual contentions have evidentiary
            support after a reasonable opportunity for further investigation or discovery; and (4) the
            complaint otherwise complies with the requirements of Rule 11.
            (5) The CCPD have already agreed in part to claims against one of the defendants after
            their internal investigation in which he was internally disciplined. The CCPD held none of
            the other defendants liable.

                  I agree to provide the Clerk's Office with any changes to my address where
                  case-related papers may be served. I understand that my failure to keep a
                  current address on file with the Clerk's Office may result in the dismissal of
                  my case.

                  Date of signing:


                  Signature of Plaintiff

                  Printed na:rpe of Plaintiff



                                                                                 18.
                                        ·"           ;
-:,"':~~:-:'?;-...--~!':.~~~.;!.¢:b"."'"'.....;:.,....--...
                                                                                  U.S. POSTAGE PAID
    Retail                                                                        USPS Ground Advtg
                                                                                  FORT WAYNE, IN 46805
                                                                                  NOV 20, 2023
       UNlrEDST.lr.TES
      f'OST.lr.LSERVICES

                                                         11   33301
                                              o Lb 13.50 Oz                       R2304 E 104962-50
      RDC01
                                      :i:t:
                                     (.9
                                   z
                                   ~
                                   u                                       ,.._
                                   <(                                     CD
                                                                          IO
                                  ,_0:::                                  CD
                                                                          ,.._
                                                                          ,.._
                                 @
                                 w                                    C")
                                                                          ~
                                                                      C")
                                0:::
                                :)                                    OCI
                                                                      N
                               1-                                     0
                                                                      ,.._
                                                                      a,
                              1                                       0
                              (.9
                             Cl)
                            Cl)
                            a..
                           Cl)
                           :)
Case 0:23-cv-62034-RKA Document 10 Entered on FLSD Docket 11/22/2023 Page 19 of 19
